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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
DECEMBER 5, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                      CIVIL ACTION
versus
                                                                      22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana, et al.


         This matter came on this day for continuation of the Bench Trial.

         PRESENT: Megan C. Keenan, Esq.
                  Victoria Wenger, Esq.
                  Sarah E. Brannon, Esq.
                  Stuart C. Naifeh, Esq.
                  Josephine M. Bahn, Esq.
                  Robert S. Clark, Esq.
                  Tiffany Alora Thomas, Esq.
                  Amanda Giglio, Esq.
                  John N. Adcock, Esq.
                  Sara Rohani, Esq.
                  Dayton Campbell-Harris, Esq.
                  Garrett Muscatel, Esq.
                  Counsel for Plaintiffs

                      Phillip J. Strach, Esq.
                      John Carroll Walsh, Esq.
                      John Clifton Conine, Jr., Esq.
                      Thomas A. Farr, Esq.
                      Cassie Holt, Esq.
                      Alyssa Riggins, Esq.
                      Counsel for R. Kyle Ardoin

                      Robert J. Tucker, Esq.
                      Michael W. Mengis, Esq.
                      Katherine L. McKnight, Esq.
                      Patrick T. Lewis, Esq.
                      Counsel for Intervenor Schexnayder and Cortez
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         Dr. Jeffrey Lewis resumes his testimony. Exhibits filed.

         Defendants proffer exhibits.

         Defendants rest.

         Dr. Marvin King is sworn, tendered, accepted as an expert in political science,

voting behavior and racially polarized voting, and testifies as a rebuttal witness. Exhibits

filed.

         The Court advised the parties that no argument at the close of hearing will be

necessary but will allow the parties to submit simultaneous briefs with citations, not to

exceed 40 pages.        Briefing shall be submitted by close of business on Tuesday,

December 19, 2023.

         Dr. Cory McCartan is sworn, tendered, accepted as an expert in redistricting and

use of simulations in redistricting, and testifies as a rebuttal witness. Exhibit filed.

         Dr. Lisa Handley is sworn and testifies on rebuttal. Exhibit filed.

         Defendants renew their Rule 52c Motion.

         Court takes this matter under advisement.

                                          * * * * *

N. Breaux/Reporter
C: CV 6; T 5.5 hrs.
